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Attorney or Party Name, Address, Telephone and FAX Nos., State Bar No. &   FOR COURT USE ONLY
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                                                                                                        Central District of California
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                                                                                            CHANGES MADE BY COURT

     Individual appearing without attorney
     Attorney for: Debtor
                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                           CASE NO.: 2:20-bk-17433-VZ
In re:
                                                                           CHAPTER: 11

           Jong Uk Byun
                                                                             ORDER RE: NOTICE OF MOTION AND
                                                                           MOTION IN INDIVIDUAL CHAPTER 11 CASE
                                                                           FOR ORDER AUTHORIZING USE OF CASH
                                                                                COLLATERAL [11 U.S.C. § 363]

                                                                           DATE: October 20, 2020
                                                                           TIME: 11:00 a.m.
                                                                           COURTROOM: 1368
                                                                           ADDRESS: 255 E. Temple Street
                                                                                     Los Angeles, CA 90012

                                                             Debtor(s).

Affected Lien Holders: Hyundai Steel Company


The court has considered NOTICE OF MOTION AND MOTION IN INDIVIDUAL CHAPTER 11 CASE FOR ORDER
AUTHORIZING USE OF CASH COLLATERAL [11 U.S.C. § 363], docket number (specify) 60.
1.    The Motion was              opposed              Unopposed               Settled by stipulation

2.    Appearances are stated in the court record.

3.    The Motion affects the following collateral (Collateral):
      a.   The Collateral
                Real Property
                Street address: 8201 Santa Fe Ave.
                Unit/suite no.:
                City, state, zip code: Huntington Park, CA 90255
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       Legal description or document recording number (include county of recording): Property is made up of 9
       parcels: APN's 6202-037-004, 6202-037-006, 6202-037-009, 6202-037-010, 6202-036-009, 6202-036-010,
       6202-036-011, 6202-036-012, 6202-036-013
       Equipment (manufacturer, type, and characteristics):
       Serial number(s):
       Location:

       Vehicle (year, manufacturer, type and model):
       Vehicle identification number:
       Location of vehicle:

       Rents or accounts receivable (type, identifying information, and location):

       Cash on hand generated from the Collateral (type, identifying information, and location):

       Other personal property (type, identifying information, and location):

   Value of Collateral $                     .

b. The Collateral
       Real Property

       Street Address: 2203 S. Alameda Street
       Apt./Suite No.:
       City, State, Zip Code: Los Angeles, CA 90058

       Legal description or document recording number (include county of recording):
       2 parcels: APN's 5167-015-064, and 5167-015-065
       This property along with 1736 E. 24th Street and 2445 S. Alameda Street, Los Angeles are contiguous.

      Equipment (manufacturer, type, and characteristics):
       Serial number(s):
       Location:


      Vehicle (year, manufacturer, type, and model):
       Vehicle identification number:
       Location of vehicle:

      Rents or accounts receivable (type, identifying information, and location):

      Cash on hand generated from the Collateral (type, identifying information, and location):

      Other personal property (type, identifying information, and location):

     Value of Collateral:    $                           .

c. The Collateral

        Real Property

        Street Address: 1736 East 24th Street
        Apt./Suite No.:
        City, State, Zip Code: Los Angeles, CA 90058
        Legal description or document recording number(include county of recording):
        Lot with building used as office. APN 5167-015-067. This property along with 2203 S. Alameda Street
        and 2445 S. Alameda Street, Los Angeles are contiguous.
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          Equipment (manufacturer, type, and characteristics):
           Serial number(s):
           Location:

          Vehicle (year, manufacturer, type, and model):
           Vehicle identification number:
           Location of vehicle:

          Rents or accounts receivable (type, identifying information, and location):

          Cash on hand generated from the Collateral (type, identifying information, and location):

          Other personal property (describe type, identifying information, and location):

      Value of collateral:    $                            .

d. The Collateral
         Real Property

          Street Address: 2445 S. Alameda Street
          Apt./Suite No.:
          City, State, Zip Code: Los Angeles, CA 90058
          Legal description or document recording number (include county of recording):
          Lot with building used as office. APN 5167-015-067. This property along with 2203 S. Alameda and 1736
          E. 24th Street, Los Angeles are contiguous.

          Equipment (manufacturer, type, and characteristics):
           Serial number(s):
           Location:

          Vehicle (year, manufacturer, type, and model):
           Vehicle identification number:
           Location of vehicle:

          Rents or accounts receivable (type, identifying information, and location):

          Cash on hand generated from the Collateral (type, identifying information, and location):

          Other personal property (describe type, identifying information, and location):

      Value of collateral:    $                            .


e.   The Collateral

         Real Property

          Street Address: 24399 Old Highway 58, Hinkley, CA 92347
          Apt./Suite No.:
          City, State, Zip Code: Hinkley, CA 92347
          Legal description or document recording number (include county of recording):
          2 parcels: APN's 0497-XXX-XX-XXXX and 0497-XXX-XX-XXXX

          Equipment (manufacturer, type, and characteristics):
           Serial number(s):
           Location:

          Vehicle (year, manufacturer, type, and model):
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                Vehicle identification number:
                Location of vehicle:

               Rents or accounts receivable (type, identifying information, and location):

               Cash on hand generated from the Collateral (type, identifying information, and location):

               Other personal property (describe type, identifying information, and location):

           Value of collateral:     $                           .


4.   Based upon the findings and conclusions made at the hearing, IT IS ORDERED THAT:
5.   The Motion is granted under:          11 U.S.C. § 363(c)(2)(A)                 11 U.S.C. § 363(c)(2)(B)

     AND IT IS FURTHER ORDERED THAT:

     a.       THIS IS AN INTERIM ORDER, a continued hearing on the further use of Cash Collateral shall be held in the
              same court on date:                    , time:             .

     b.       Any further opposition to the further use of Cash Collateral is to be filed with the court and served upon the
              Debtor, the United States trustee, the creditor’s committee (if any), its counsel, and (if no creditors committee),
              the 20 largest unsecured creditors by date:         . If no opposition is filed, any opposition may be deemed
              waived.

          See attached for any other provisions.

6.        The Motion is

              Granted in part under 11 U.S.C. § 363(c)(2)(B). The Debtor is authorized to use cash collateral to make
              payments for property taxes and insurance to the extent that the lessees of the properties do not pay them
              timely.

              Denied in part. Any relief requested in the Motion, not expressly granted is denied.

7.        Other: This Order is entered having considered “Hyundai Steel Company’s Objection to the Debtor’s Lodged
          Proposed Order Granting Motion In Individual Chapter 11 Case for Order Authorizing Use of Cash Collateral.”

                                                             ###




            Date: November 4, 2020
